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                       IN THE UNITED STATED DISTRICT COURT
                         FOR THE DISTRICT OF PUERTO RICO




CONTINENTAL CASUALTY COMPANY                       CIVIL NO. 3:19-cv-01311

                Plaintiff,

                v.                                 DAMAGES, PRODUCT LIABILITY,
                                                   NEGLIGENCE AND BREACH OF
WEG ELECTRIC CORP., WEG                            WARRANTIES
TRANSFORMADORES MEXICO S.A. DE
C.V., VOLTRAN S.A. DE C.V., CAMFER
ENGINEERING SERVICES, INC.
                                                   JURY TRIAL DEMANDED
                Defendants.



                                          COMPLAINT
       COMES NOW Plaintiff, Continental Casualty Company, by and through its undersigned

counsel, and for its Complaint against Defendants WEG Electric Corp., WEG Transformadores

Mexico S.A. de C.V., Voltran S.A. de C.V., and CAMFER Engineering Services, Inc., and

STATES, ALLEGS and PRAYS as follows:

       1.       Plaintiff Continental Casualty Company (hereinafter “Plaintiff” or “CCC”) is a

corporation duly organized under the laws of the State of Illinois, dedicated to the business of

fire, marine, equipment and casualty insurance and is authorized to do business in the

Commonwealth of Puerto Rico. Plaintiff’s principal place of business is located at 333 South

Wabash Avenue, Chicago, Illinois 60604.

       2.       At all times material hereto, Plaintiff’s insured was Popular, Inc. and Banco

Popular de Puerto Rico (hereinafter collectively “Insured”) and Plaintiff CCC insured property
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and electrical service equipment located at the Insured’s El Senorial Center at Calle San Tomas,

San Juan, Puerto Rico 00926 (hereinafter “the Property”).

        3.       Defendant WEG Electric Corp. is a Georgia corporation, with a principal place of

business located at 6655 Sugarloaf Parkway, Duluth, Georgia 30097 (hereinafter “WEG USA”).

        4.       At all times material hereto, Defendant WEG USA was part of the “WEG

Group”.

        5.       At all times material hereto, Defendant WEG USA was engaged in the business of

designing, manufacturing, distributing selling, branding, marketing, advertising and/or supplying

transformers and related electrical service equipment in the United States and Puerto Rico.

        6.       Defendant WEG Transformadores Mexico S.A. de C.V. is a Mexican business

entity, with its principal place of business located at Tula Km 3.5, Block 5, Fractionation

Huechuetoca Industrial Park, Huetuetoca, Mexico 54680 (hereinafter “WEG Mexico”).

        7.       At all times material hereto, Defendant WEG Mexico was part of the “WEG

Group”.

        8.       At all times material hereto, Defendant WEG Mexico was engaged in the business

of designing, manufacturing, distributing selling, branding, marketing, advertising and/or

supplying transformers and related electrical service equipment in the United States and Puerto

Rico.

        9.       Defendant Voltran S.A. de C.V. is a Mexican business entity, with its principal

place of business located at Sur 2 No. 11, Zona Industrial, Tizayuca, Mexico 43805 (hereinafter

“Voltran”).

        10.      At all times material hereto, Defendant Voltran was part of the “WEG Group”.




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       11.     At all times material hereto, Defendant Voltran was engaged in the business of

designing, manufacturing, distributing selling, branding, marketing, advertising and/or supplying

transformers and related electrical service equipment in the United States and Puerto Rico.

       12.     Defendants WEG USA, WEG Mexico and/or Voltran all operate as part of the

“WEG Group”.

       13.     At all times material hereto, Defendant WEG USA and the WEG Group

maintained offices, manufacturing facilities, distribution facilities, warehouses and/or business

locations through the United States at the following locations: (a) 1450 E. Francis Street, Unit

A, Ontario, California 91761, (b) 18101 East Colfax Avenue, Aurora, Colorado 80011, (c) 6655

Sugarloaf Parkway, Duluth, Georgia 30097, (d) 4615 W. Prime Parkway, McHenry, Illinois

60050, (e) Crossroads Business Park, 12 Gateway Court, Suite A, Bolingbrook, Illinois 60440,

(f) 410 East Spring Street, Bluffton, Indiana 46714, (g) 9601 Woodend Road, Suite A,

Edwardsville, Kansas 66111, (h) 800 Central Avenue NE, Minneapolis, Minnesota 55413, (i) 1

Pauwels Drive, Washington, Missouri 61090, (j) 6349Avantha Drive, Washington, Missouri

63090, (k) 5439 Roan Road, Sylania, Ohio 43560, (k) 35 Dauphin Drive, New Kingstown,

Pennsylvania 17072, and (l) 1517 Greens Road, Suite 200, Houston, Texas 77932, (m) 22434

76th Ave S., Kent, Washington 98032.

       14.     Defendant CAMFER Engineering Services, Inc. is a Puerto Rican corporation

with its principal place of business located at Calle America #4, San Juan, Puerto Rico 00917

(hereinafter “CAMFER”).

       15.     At all times material hereto, Defendant CAMFER was engaged in the business of

selling and/or supplying transformers and related electrical service equipment in Puerto Rico.




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                                  JURISDICTION AND VENUE

        16.     The jurisdiction of this Court is proper pursuant to 28 U.S.C. §1332(a)(1), as this

action is between citizens of different states and the amount in controversy, exclusive of interest

and costs, exceeds the sum of $75,000.00.

        17.     The jurisdiction of this Court is also proper pursuant to 28 U.S.C. §1332(a)(2), as

this action is between citizens of a State and citizens or subjects of a foreign state and the amount

in controversy, exclusive of interest and costs, exceeds the sum of $75,000.00.

        18.     The jurisdiction of this Court is also proper pursuant to 28 U.S.C. §1332(a)(3), as

this action is between citizens of different States and in which citizens or subjects of a foreign

state are additional parties, and the amount in controversy, exclusive of interest and costs,

exceeds the sum of $75,000.00.

        19.     Venue is proper in this district pursuant to 28 U.S.C. §1391(b)(2), as the events

and omissions giving rise to the claims at issue occurred within this District and a substantial part

of the property that is the subject of the action is situated in this District.

                                       FACT BACKGROUND

        20.     Plaintiff incorporates the previous allegations, by reference.

        21.     As a result of the passage of Hurricane Maria in September 2017, the Insured’s

transformer and electrical service equipment at its Property was damaged.

        22.     In August 2018, Plaintiff’s Insured purchased a new 2018 WEG Brand 38kV

Three-Phase Oil Immersed Transformer (Serial No.: 1043181163 BPPR) from Defendant

CAMFER (hereinafter “the Transformer”).

        23.     At all relevant times, Defendant CAMFER was a seller of the Transformer in the

ordinary course of business, and the Transformer was the type of equipment that it sold and

supplied as part of its ordinary business.

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       24.     In September 2018, the Transformer was installed at the Insured’s Property by

Defendant CAMFER.

       25.     The Transformer was designed, manufactured, distributed, sold, branded,

marketed, advertised and supplied by Defendants WEG USA, WEG Mexico and/or Voltran.

       26.     The following photograph of the Transformer’s side panel identifies it as a

“WEG” Group product:




       27.     The “WEG” mark used on the Transformer is a registered Trademark in the

United States used and shared by Defendant WEG USA, WEG Mexico and Voltran for sale of

their products in the United States and Puerto Rico.

       28.     Defendants WEG USA, WEG Mexico and Voltran manufactured, assembled,

designed, distributed, sold, shipped and marketed the subject Transformer under the trade name

and/or brand name “WEG” and they are therefore liable as sellers and manufacturers of the

product.

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       29.     At all relevant times, Defendants WEG USA, WEG Mexico and Voltran

introduced the Transformer into the stream of commerce in the United States and Puerto Rico.

       30.     At all relevant times, Defendant CAMFER facilitated the sale of the Transformer

to the Insured in Puerto Rico and introduced the Transformer into the stream of commerce in

Puerto Rico.

       31.     At all relevant times, the Transformer was in substantially the same condition as

when introduced into the stream of commerce by Defendants and no modifications were made to

the Transformer from the time it left the possession of Defendants until the time it was installed

in September 2018.

       32.     On October 10, 2018, an electrical failure and fire event originated in the

Transformer at the Property (hereinafter “the Fire”).

       33.     The Fire in the Transformer caused the Insured to incur property damages and

other losses and expenses.

       34.     Defendants WEG USA, WEG Mexico and Voltran sent their internal company

engineers and/or company representatives to Puerto Rico after receiving notice of the Fire to

inspect the Transformer in Puerto Rico and investigate the cause of the Fire in Puerto Rico.

       35.     The Fire in the Transformer was caused by manufacturing and/or design defects.

       36.     The Fire in the Transformer was caused by an internal malfunction and/or failure

of windings, leads, connections and/or clearance tolerances of the Transformer.

       37.     As a result of the Fire, and pursuant to the terms and conditions of the CCC policy

of insurance issued to the Insured, Plaintiff CCC anticipates making payments to its insured in

excess of $75,000, for the damages incurred as a result of the Fire.




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       38.     In accordance with the common law principles of equitable and legal subrogation,

and pursuant to the policy of insurance, Plaintiff CCC is subrogated to the rights and remedies of

the Insured to the extent of any payment made to the Insured.

                                       COUNT 1
                                 NEGLIGENCE v. WEG USA

       39.     Plaintiff incorporates the previous allegations, by reference.

       40.     Defendant had a duty to ensure that the Transformer was safely and properly

designed, manufactured, distributed, sold, branded, marketed, advertised, supplied and placed in

the stream of commerce in Puerto Rico without defects.

       41.     Defendant breached its duties of care because the Transformed caused the Fire.

       42.     The subject Fire and the resulting damages were caused by the negligence,

carelessness, recklessness, gross negligence and/or negligent acts and/or omissions of Defendant

WEG USA, its agents, servants and/or employees acting within the course and scope of their

employment or agency, in:

              (a)    Negligently designing, manufacturing, distributing, selling, branding,
       marketing, advertising and/or supplying the Transformer in a defective condition;

              (b)    Negligently designing, manufacturing, distributing, selling, branding,
       marketing, advertising and/or supply the Transformer in an unreasonably dangerous
       condition;

              (c)     Placing the Transformer into the stream of commerce in the United States
       and Puerto Rico in a defectively manufactured and/or defectively designed condition
       which Defendant knew or should have known subjected the Property belonging to the
       Insured to an unreasonable risk of harm;

             (d)     Failing to adequately, properly, and safely assemble, construct, fabricate,
       manufacture, inspect and/or test the Transformer;

              (e)    Failing and omitting to do and perform those things necessary in order to
       avoid an unreasonable risk of harm to the Insured’s property;

               (f)     Failing to warn customers, including the Insured, of the substantial risk of
       fire presented by the manufacture and/or design of the Transformer; and

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               (g)     Otherwise failing to use due care under the circumstances.

       43.     As a direct and proximate result of the aforesaid negligence, carelessness,

recklessness, gross negligence and/or negligent acts and/or omissions of Defendant WEG USA,

the subject Fire occurred and resulted in Plaintiff and its Insured incurring property damages and

other losses and expenses.

       WHEREFORE, Plaintiff CCC demands judgment in its favor and against Defendant

WEG USA, in an amount in excess of $75,000, together with interest and costs and such other

relief as this Court deems proper.

                                    COUNT 2
                       STRICT PRODUCTS LIABILITY v. WEG USA

       44.     Plaintiff incorporates the previous allegations, by reference.

       45.     At all times relevant hereto, Defendant WEG USA manufactured, designed,

assembled, distributed, supplied, sold, branded, and marketed the Transformer.

       46.     At all times relevant hereto, Defendant WEG USA placed the Transformed into

the stream of commerce in Puerto Rico.

       47.     The Transformer was expected to and did reach the consumer in Puerto Rico, the

Insured, without substantial change and remained in substantially the same condition and without

any material alterations from the time it was sold and until the date of the Fire.

       48.     The Transformer was defective in manufacture and/or design in that it deviated in

a material way from its manufacturing performance standards and/or deviated in a material way

from otherwise identical units manufactured to the same design.

       49.     The Transformer was defective in design and/or manufacture in that when it left

the hands of Defendant, the foreseeable risks exceeded the benefits associated with the design




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and manufacture and/or the design and manufacture was/were more dangerous than an ordinary

consumer would expect when used in its intended and reasonably foreseeable manner.

       50.       The Transformer was defective due to inadequate manufacturing, assembly,

construction, fabrication and/or configuration of its windings and associated parts and insulation.

       51.       Defendant WEG USA is strictly liable for causing the Fire and resulting damages

from the Fire.

       52.       As a direct and proximate cause of the defective and unreasonably dangerous

condition of the Transformer, the Fire occurred causing Plaintiff and the Insured to incur

damages to property and other losses and expenses.

       WHEREFORE, Plaintiff CCC demands judgment in its favor and against Defendant

WEG USA, in an amount in excess of $75,000, together with interest and costs and such other

relief as this Court deems proper.

                               COUNT 3
          BREACH OF EXPRESS AND IMPLIED WARRANTIES v. WEG USA

       53.       Plaintiff incorporates the previous allegations, by reference.

       54.       In designing, manufacturing, assembling, distributing, selling, supplying,

branding, marketing, advertising and/or placing into the stream of commerce the Transformer,

Defendant expressly and/or impliedly warranted that the Transformer was fit for the particular

and ordinary purpose for which it was intended.

       55.       The Transformer was not fit for the particular and ordinary purpose for which it

was intended because it failed and caused the Fire within a month of its operation.

       56.       In designing, manufacturing, assembling, distributing, selling, supplying,

branding, marketing, advertising and/or placing into the stream of commerce the Transformer,




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Defendant expressly and impliedly warranted that the Transformer was of good and

merchantable quality.

       57.     The Transformer was not of good and merchantable quality because it failed and

caused the Fire within a month of its operation.

       58.     By designing, manufacturing, assembling, distributing, selling, supplying,

branding, and/or placing into the Transformer into the stream of commerce in a defective and

unreasonably dangerous condition, Defendant breached its express and implied warranties.

       59.     As a direct and proximate result of the above referenced breaches of warranties,

the subject Fire occurred and caused Plaintiff and its Insured to incur property damages and other

losses and expenses.

       WHEREFORE, Plaintiff CCC demands judgment in its favor and against Defendant

WEG USA, in an amount in excess of $75,000, together with interest and costs and such other

relief as this Court deems proper.

                                      COUNT 4
                              NEGLIGENCE v. WEG MEXICO

       60.     Plaintiff incorporates the previous allegations, by reference.

       61.     Defendant had a duty to ensure that the Transformer was safely and properly

designed, manufactured, distributed, sold, branded, marketed, advertised, supplied and placed in

the stream of commerce in Puerto Rico without defects.

       62.     Defendant breached its duties of care because the Transformed caused the Fire.

       63.     The subject Fire and the resulting damages were caused by the negligence,

carelessness, recklessness, gross negligence and/or negligent acts and/or omissions of Defendant

WEG Mexico, its agents, servants and/or employees acting within the course and scope of their

employment or agency, in:


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              (a)    Negligently designing, manufacturing, distributing, selling, branding,
       marketing, advertising and/or supplying the Transformer in a defective condition;

              (b)    Negligently designing, manufacturing, distributing, selling, branding,
       marketing, advertising and/or supply the Transformer in an unreasonably dangerous
       condition;

              (c)     Placing the Transformer into the stream of commerce in the United States
       and Puerto Rico in a defectively manufactured and/or defectively designed condition
       which Defendant knew or should have known subjected the Property belonging to the
       Insured to an unreasonable risk of harm;

             (d)     Failing to adequately, properly, and safely assemble, construct, fabricate,
       manufacture, inspect and/or test the Transformer;

              (e)    Failing and omitting to do and perform those things necessary in order to
       avoid an unreasonable risk of harm to the Insured’s property;

               (f)     Failing to warn customers, including the Insured, of the substantial risk of
       fire presented by the manufacture and/or design of the Transformer; and

               (g)    Otherwise failing to use due care under the circumstances.

       64.     As a direct and proximate result of the aforesaid negligence, carelessness,

recklessness, gross negligence and/or negligent acts and/or omissions of Defendant WEG

Mexico, the subject Fire occurred and resulted in Plaintiff and its Insured incurring property

damages and other losses and expenses.

       WHEREFORE, Plaintiff CCC demands judgment in its favor and against Defendant

WEG Mexico, in an amount in excess of $75,000, together with interest and costs and such other

relief as this Court deems proper.

                                    COUNT 5
                     STRICT PRODUCTS LIABILITY v. WEG MEXICO

       65.     Plaintiff incorporates the previous allegations, by reference.

       66.     At all times relevant hereto, Defendant WEG Mexico manufactured, designed,

assembled, distributed, supplied, sold, branded, and marketed the Transformer.




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       67.     At all times relevant hereto, Defendant WEG Mexico placed the Transformed into

the stream of commerce in Puerto Rico.

       68.     The Transformer was expected to and did reach the consumer in Puerto Rico, the

Insured, without substantial change and remained in substantially the same condition and without

any material alterations from the time it was sold and until the date of the Fire.

       69.     The Transformer was defective in manufacture and/or design in that it deviated in

a material way from its manufacturing performance standards and/or deviated in a material way

from otherwise identical units manufactured to the same design.

       70.     The Transformer was defective in design and/or manufacture in that when it left

the hands of Defendant, the foreseeable risks exceeded the benefits associated with the design

and manufacture and/or the design and manufacture was/were more dangerous than an ordinary

consumer would expect when used in its intended and reasonably foreseeable manner.

       71.     The Transformer was defective due to inadequate manufacturing, assembly,

construction, fabrication and/or configuration of its windings and associated parts and insulation.

       72.     Defendant WEG Mexico is strictly liable for causing the Fire and resulting

damages from the Fire.

       73.     As a direct and proximate cause of the defective and unreasonably dangerous

condition of the Transformer, the Fire occurred causing Plaintiff and the Insured to incur

damages to property and other losses and expenses.

       WHEREFORE, Plaintiff CCC demands judgment in its favor and against Defendant

WEG Mexico, in an amount in excess of $75,000, together with interest and costs and such other

relief as this Court deems proper.




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                               COUNT 6
       BREACH OF EXPRESS AND IMPLIED WARRANTIES v. WEG MEXICO

       74.     Plaintiff incorporates the previous allegations, by reference.

       75.     In designing, manufacturing, assembling, distributing, selling, supplying,

branding, marketing, advertising and/or placing into the stream of commerce the Transformer,

Defendant expressly and/or impliedly warranted that the Transformer was fit for the particular

and ordinary purpose for which it was intended.

       76.     The Transformer was not fit for the particular and ordinary purpose for which it

was intended because it failed and caused the Fire within a month of its operation.

       77.     In designing, manufacturing, assembling, distributing, selling, supplying,

branding, marketing, advertising and/or placing into the stream of commerce the Transformer,

Defendant expressly and impliedly warranted that the Transformer was of good and

merchantable quality.

       78.     The Transformer was not of good and merchantable quality because it failed and

caused the Fire within a month of its operation.

       79.     By designing, manufacturing, assembling, distributing, selling, supplying

branding, and/or placing into the Transformer into the stream of commerce in a defective and

unreasonably dangerous condition, Defendant breached its express and implied warranties.

       80.     As a direct and proximate result of the above referenced breaches of warranties,

the subject Fire occurred and caused Plaintiff and its Insured to incur property damages and other

losses and expenses.

       WHEREFORE, Plaintiff CCC demands judgment in its favor and against Defendant

WEG Mexico, in an amount in excess of $75,000, together with interest and costs and such other

relief as this Court deems proper.


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                                        COUNT 7
                                 NEGLIGENCE v. VOLTRAN

       81.     Plaintiff incorporates the previous allegations, by reference.

       82.     Defendant had a duty to ensure that the Transformer was safely and properly

designed, manufactured, distributed, sold, branded, marketed, advertised, supplied and placed in

the stream of commerce in Puerto Rico without defects.

       83.     Defendant breached its duties of care because the Transformed caused the Fire.

       84.     The subject Fire and the resulting damages were caused by the negligence,

carelessness, recklessness, gross negligence and/or negligent acts and/or omissions of Defendant

Voltran, its agents, servants and/or employees acting within the course and scope of their

employment or agency, in:

              (a)    Negligently designing, manufacturing, distributing, selling, branding,
       marketing, advertising and/or supplying the Transformer in a defective condition;

              (b)    Negligently designing, manufacturing, distributing, selling, branding,
       marketing, advertising and/or supply the Transformer in an unreasonably dangerous
       condition;

              (c)     Placing the Transformer into the stream of commerce in the United States
       and Puerto Rico in a defectively manufactured and/or defectively designed condition
       which Defendant knew or should have known subjected the Property belonging to the
       Insured to an unreasonable risk of harm;

             (d)     Failing to adequately, properly, and safely assemble, construct, fabricate,
       manufacture, inspect and/or test the Transformer;

              (e)    Failing and omitting to do and perform those things necessary in order to
       avoid an unreasonable risk of harm to the Insured’s property;

               (f)     Failing to warn customers, including the Insured, of the substantial risk of
       fire presented by the manufacture and/or design of the Transformer; and

               (g)    Otherwise failing to use due care under the circumstances.




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       85.     As a direct and proximate result of the aforesaid negligence, carelessness,

recklessness, gross negligence and/or negligent acts and/or omissions of Defendant Voltran, the

subject Fire occurred and resulted in Plaintiff and its Insured incurring property damages and

other losses and expenses.

       WHEREFORE, Plaintiff CCC demands judgment in its favor and against Defendant

Voltran, in an amount in excess of $75,000, together with interest and costs and such other relief

as this Court deems proper.

                                    COUNT 8
                       STRICT PRODUCTS LIABILITY v. VOLTRAN

       86.     Plaintiff incorporates the previous allegations, by reference.

       87.     At all times relevant hereto, Defendant Voltran manufactured, designed,

assembled, distributed, supplied, sold, branded, and marketed the Transformer.

       88.     At all times relevant hereto, Defendant Voltran placed the Transformed into the

stream of commerce in Puerto Rico.

       89.     The Transformer was expected to and did reach the consumer in Puerto Rico, the

Insured, without substantial change and remained in substantially the same condition and without

any material alterations from the time it was sold and until the date of the Fire.

       90.     The Transformer was defective in manufacture and/or design in that it deviated in

a material way from its manufacturing performance standards and/or deviated in a material way

from otherwise identical units manufactured to the same design.

       91.     The Transformer was defective in design and/or manufacture in that when it left

the hands of Defendant, the foreseeable risks exceeded the benefits associated with the design

and manufacture and/or the design and manufacture was/were more dangerous than an ordinary

consumer would expect when used in its intended and reasonably foreseeable manner.


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       92.       The Transformer was defective due to inadequate manufacturing, assembly,

construction, fabrication and/or configuration of its windings and associated parts and insulation.

       93.       Defendant Voltran is strictly liable for causing the Fire and resulting damages

from the Fire.

       94.       As a direct and proximate cause of the defective and unreasonably dangerous

condition of the Transformer, the Fire occurred causing Plaintiff and the Insured to incur

damages to property and other losses and expenses.

       WHEREFORE, Plaintiff CCC demands judgment in its favor and against Defendant

Voltran, in an amount in excess of $75,000, together with interest and costs and such other relief

as this Court deems proper.

                                COUNT 9
          BREACH OF EXPRESS AND IMPLIED WARRANTIES v. VOLTRAN

       95.       Plaintiff incorporates the previous allegations, by reference.

       96.       In designing, manufacturing, assembling, distributing, selling, supplying,

branding, marketing, advertising and/or placing into the stream of commerce the Transformer,

Defendant expressly and/or impliedly warranted that the Transformer was fit for the particular

and ordinary purpose for which it was intended.

       97.       The Transformer was not fit for the particular and ordinary purpose for which it

was intended because it failed and caused the Fire within a month of its operation.

       98.       In designing, manufacturing, assembling, distributing, selling, supplying,

branding, marketing, advertising and/or placing into the stream of commerce the Transformer,

Defendant expressly and impliedly warranted that the Transformer was of good and

merchantable quality.




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       99.     The Transformer was not of good and merchantable quality because it failed and

caused the Fire within a month of its operation.

       100.    By designing, manufacturing, assembling, distributing, selling, supplying

branding, and/or placing into the Transformer into the stream of commerce in a defective and

unreasonably dangerous condition, Defendant breached its express and implied warranties.

       101.    As a direct and proximate result of the above referenced breaches of warranties,

the subject Fire occurred and caused Plaintiff and its Insured to incur property damages and other

losses and expenses.

       WHEREFORE, Plaintiff CCC demands judgment in its favor and against Defendant

Voltran, in an amount in excess of $75,000, together with interest and costs and such other relief

as this Court deems proper.

                                       COUNT 10
                                 NEGLIGENCE v. CAMFER

       102.    Plaintiff incorporates the previous allegations, by reference.

       103.    Defendant had a duty to ensure that the Transformer was safely and properly

distributed, sold, supplied and placed in the stream of commerce in Puerto Rico without defects.

       104.    Defendant breached its duties of care because the Transformed caused the Fire.

       105.    The subject Fire and the resulting damages were caused by the negligence,

carelessness, recklessness, gross negligence and/or negligent acts and/or omissions of Defendant

CAMFER, its agents, servants and/or employees acting within the course and scope of their

employment or agency, in:

              (a)    Negligently designing, manufacturing, distributing, selling, branding,
       marketing, advertising and/or supplying the Transformer in a defective condition;

              (b)    Negligently designing, manufacturing, distributing, selling, branding,
       marketing, advertising and/or supply the Transformer in an unreasonably dangerous
       condition;

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              (c)     Placing the Transformer into the stream of commerce in the United States
       and Puerto Rico in a defectively manufactured and/or defectively designed condition
       which Defendant knew or should have known subjected the Property belonging to the
       Insured to an unreasonable risk of harm;

             (d)     Failing to adequately, properly, and safely assemble, construct, fabricate,
       manufacture, inspect and/or test the Transformer;

              (e)    Failing and omitting to do and perform those things necessary in order to
       avoid an unreasonable risk of harm to the Insured’s property;

               (f)     Failing to warn customers, including the Insured, of the substantial risk of
       fire presented by the manufacture and/or design of the Transformer; and

               (g)    Otherwise failing to use due care under the circumstances.

       106.    As a direct and proximate result of the aforesaid negligence, carelessness,

recklessness, gross negligence and/or negligent acts and/or omissions of Defendant CAMFER,

the subject Fire occurred and resulted in Plaintiff and its Insured incurring property damages and

other losses and expenses.

       WHEREFORE, Plaintiff CCC demands judgment in its favor and against Defendant

CAMFER, in an amount in excess of $75,000, together with interest and costs and such other

relief as this Court deems proper.


                                    COUNT 11
                       STRICT PRODUCTS LIABILITY v. CAMFER

       107.    Plaintiff incorporates the previous allegations, by reference.

       108.    At all times relevant hereto, Defendant CAMFER manufactured, designed,

assembled, distributed, supplied, sold, branded, and marketed the Transformer.

       109.    At all times relevant hereto, Defendant CAMFER placed the Transformed into the

stream of commerce in Puerto Rico.




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       110.      The Transformer was expected to and did reach the consumer in Puerto Rico, the

Insured, without substantial change and remained in substantially the same condition and without

any material alterations from the time it was sold and until the date of the Fire.

       111.      The Transformer was defective in manufacture and/or design in that it deviated in

a material way from its manufacturing performance standards and/or deviated in a material way

from otherwise identical units manufactured to the same design.

       112.      The Transformer was defective in design and/or manufacture in that when it left

the hands of Defendant, the foreseeable risks exceeded the benefits associated with the design

and manufacture and/or the design and manufacture was/were more dangerous than an ordinary

consumer would expect when used in its intended and reasonably foreseeable manner.

       113.      The Transformer was defective due to inadequate manufacturing, assembly,

construction, fabrication and/or configuration of its windings and associated parts and insulation.

       114.      Defendant CAMFER is strictly liable for causing the Fire and resulting damages

from the Fire.

       115.      As a direct and proximate cause of the defective and unreasonably dangerous

condition of the Transformer, the Fire occurred causing Plaintiff and the Insured to incur

damages to property and other losses and expenses.

       WHEREFORE, Plaintiff CCC demands judgment in its favor and against Defendant

CAMFER, in an amount in excess of $75,000, together with interest and costs and such other

relief as this Court deems proper.

                              COUNT 12
       BREACH OF EXPRESS AND IMPLIED WARRANTIES v. WEG CAMFER

       116.      Plaintiff incorporates the previous allegations, by reference.




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       117.    In distributing, selling, supplying, and/or placing into the stream of commerce the

Transformer, Defendant expressly and/or impliedly warranted that the Transformer was fit for

the particular and ordinary purpose for which it was intended.

       118.    The Transformer was not fit for the particular and ordinary purpose for which it

was intended because it failed and caused the Fire within a month of its operation.

       119.    In distributing, selling, supplying, and/or placing into the stream of commerce the

Transformer, Defendant expressly and impliedly warranted that the Transformer was of good

and merchantable quality.

       120.    The Transformer was not of good and merchantable quality because it failed and

caused the Fire within a month of its operation.

       121.    By distributing, selling, supplying, and/or placing into the Transformer into the

stream of commerce in a defective and unreasonably dangerous condition, Defendant breached

its express and implied warranties.

       122.    As a direct and proximate result of the above referenced breaches of warranties,

the subject Fire occurred and caused Plaintiff and its Insured to incur property damages and other

losses and expenses.

       WHEREFORE, Plaintiff CCC demands judgment in its favor and against Defendant

CAMFER, in an amount in excess of $75,000, together with interest and costs and such other

relief as this Court deems proper.

        RESPECTFULLY SUBMITTED.

       In Miami, Florida, this 4th day of April 2019.




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        WE HEREBY CERTIFY: that on this date, we electronically filed the foregoing

motion with the Clerk of the Court using the CM/ECF system.



                                                   /s/ Joseph F. Rich
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